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                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                 COLUMBUS DIVISION

  In Re:                                          Case No. 2:17-bk-55474

  Stephen W. Schmitt
   dba Stephen Schmitt Agency, Inc.               Chapter 13
  Karen K. Schmitt

  Debtors.                                        Judge C. Kathryn Preston

                                 CERTIFICATE OF SERVICE

 I certify that a copy of the foregoing Notice of Mortgage Payment Change was served
 electronically on November 22, 2019 through the Court’s ECF System on all ECF participants
 registered in this case at the e-mail address registered with the Court

 And by ordinary U.S. Mail on November 22, 2019 addressed to:

           Stephen W. Schmitt, Debtor
           5952 Rangeline Rd.
           Mount Vernon, OH 43050

           Karen K. Schmitt, Debtor
           5952 Rangeline Rd.
           Mount Vernon, OH 43050


                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
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                                                  Attorney for Creditor
